                        IN THE UNITED STATES BANKRUPTCY COURT
                             F~I~'TIDE I2IS~'RICT G~~' D~I.A~A~


In re:                                                                  Chapter 11

PROMISE HEALTHCARE GROUP,LLC,et al. l                                   Case No. 18-12491 (CSS)

                   Debtors.                                             Jointly Administered

                                                                         Objection Deadline: September 4, 2019
                                                                         at 4:00 p.m.(ET)
                                                                         Hearing Date: Only if necessary



          SEVENTH MONTHLY APPLICATION OF SILLS CUMMIS &GROSS P.C.
           FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
            AND FOR REIMBURSEMENT OF EXPENSES AS CO-COUNSEL TO
            THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
               THE PERIOD FROM JUNE 1, 2419 THROUGH JUNE 30,2019

Name of Applicant:                                           Sills Cummis &Gross P.C.

Authorized to provide professional services to:              Official Committee of Unsecured Creditors

                                                             January 8, 2019 nunc pro tz~nc to November 14,
Date of Retention:                                           2018
Period for which compensation                                June 1, 2019 -June 30, 2019

1 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor's federal tax identification
number, are as follows: HLP Healthcare, Inc.(8381), PH-ELA,Inc.(9180),Professional Rehabilitation Hospital,
L.L.C.(5340), Promise Healthcare #2, Inc.(1913),Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc.(2601), Bossier Land Acquisition Corp.(6644), HLP of Los Angeles, LLC(9102), HLP of
Shreveport, Inc.(1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages,
L.L.C.(1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc.(0068), Promise Healthcare of
California, Inc.(9179), Promise Healthcare, Inc.(7953), Promise Hospital of Ascension, Inc.(9219), Promise
Hospital of Baton Rouge,Inc.(8831), Promise Hospital of Dade, Inc.(7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P.(4671),Promise Hospital of Florida at The Villages, Inc.
(2171), Promise Hospital of Louisiana, Inc.(4886), Promise Hospital of Lee, Inc.(8552), Promise Hospital of
Overland Park, Inc.(5562),Promise Hospital ofPhoenix, Inc.(1318),Promise Hospital of Salt Lake, Inc.(0659),
Promise Hospital of Vicksburg, Inc.(2834), Promise Hospital of Wichita Falls, Inc.(4104), Promise Properties of
Dade, Inc.(1592), Promise Properties of Lee, Inc.(9065), Promise Properties of Shreveport, LLC(9057), Promise
Skilled Nursing Facility of Overland Park, Inc.(5752),Promise Skilled Nursing Facility of Wichita Falls, Inc.
(1791), Quantum Health, Inc.(4298), Quantum Properties, L.P.(8203), St. Alexius Hospital Corporation #1 (2766),
 St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC(6535), Success Healthcare 2, LLC (8861), Success
 Healthcare, LLC(1604), Vidalia Real Estate Partners, LLC(4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc.(1823), Promise Rejuvenation Centers, Inc.(7301), Promise
Rejuvenation Center at the Villages, Inc.(7529), and PHG Technology Development and Services Company, Inc.
(7766). The mailing address for the Debtors, solely for purposes of notices and communications, is 999 Yamato
 Road, 3rd FL, Boca Raton, FL 33431.



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and reimbursement are sought:
Amount of compensation sought as actual,
reasonable, and necessary:                 $86,238.40 (80% of $107,798.00
Amount of expense reimbursement sought
as actual, reasonable, and necessary:      $69.83

This is a monthly application.




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                          COMPENSATION BY PROFESSIONAL
                          JiJl~~ 1, 2019 ~'HI-iOiTG~I ~[J1~1~ 3~J, 2t}19

 N~nte of Pt~ofessional       1'asition, ~rim~ry          Hourly       Total           Total
     Inr~ividi~ai           tiepartn~ent or group,        Billing      ~aurs       Coin~ens~tion
                              3~ear of obtaining           Rate        Billed
                              relevant license to
                             ractice, if ~ Iicabie
Andrew H. Sherman          Member, Bankruptcy               $775           27.4       $21,235.00
                           First Bar Admission: 1991
Boris Mankovetskiy         Member, Bankruptcy               $~25           48.8       $35,380.00
                           First Bar Admission: 2001
                           Member, Corporate
Brian S. Coven                                              $725           26.5       $19,212.50
                           First Bar Admission: 1982
Mark S. Olinksy            Member, Litigation               $~25           0.9           $652.50
                           First Bar Admission: 1982
Rachel E. Brennan          Associate, Bankruptcy            $545           43.4       $23,653.00
                           First Bar Admission: 2012
 Gregory A. Kopacz         Associate, Bankruptcy            $525           14.6        $7,665.00
                           First Bar Admission: 2010
                                                           Blend:
TOTAL                                                                      161.6     $107,798.Q0
                                                          $667.07




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                       COMPENSATION BY PROJECT CATEGORY
                         JLTN~ ~, 2019'~~IaOUGI~ JLTl~T~ 34,2Q19

                      Pi o'ect Cate o                             Total Hours       Tot~i Fees
Asset Analysis and Recovery(101)                                          3.8          $2,755.00
Asset Disposition(102)                                                  103.5         $69,729.50
Business Operations(103)                                                  0.4            $290.00
Case Administration (104)                                                 7.5          $4,843.50
Claims Administration and Objections(105)                                33.2         $22,390.00
Fee/Employment Applications(107)                                          8.9          $4,672.50
Financing(109)                                                            2.8          $2,030.00
Plan and Disclosure Statement(113)                                        1.2            $870.00
Relieffrom Stay Proceedings(114)                                          0.3            $217.50

TOTAL                                                                   161.6        $107,798.00


                                      EXPENSE SUMMARY
                              JUNE 1, 2019 THROUGH JUNE 30,2019

          Expense Ca#~go~yr               Sei-~~iee Pro~ric~et•                 Total Expenses
                                             if ~ livable)
 Telephone                                                                                $48.83
 Local Travel (Train)                                                                     $21.00

 TOTAL                                                                                    $69.83




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                        IN THE UNITED STATES BANKRUPTCY COURT
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           SEVENTH APPLICATION OF SILLS CUMMIS &GROSS P.C. FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
           FOR REIMBURSEMENT OF EXPENSES AS CO-COUNSEL TO THE
           OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
                PERIOD FROM JUNE 1, 2019 THROUGH JUNE 30,2019

                  Pursuant to sections 330 and 331 of title 11 of the United States Code, §§ 101-

1532(the `Bankruptcy Code"), rule 2016 of the Federal Rules of Bankruptcy Procedure (the

`Bankruptcy Rules"), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the "Local Rules"), and the


1 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor's federal tax identification
number, are as follows: HLP Healthcare, Inc.(8381),PH-ELA,Inc.(9180), Professional Rehabilitation Hospital,
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 Road, 3rd FL, Boca Raton, FL 33431.



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Administrative ONder Establishing ProceduNesfoJ• Interim Compensation and ReifnbuNsement of

Expenses ofProfessionals, dated December 3, 2018 [D.I. 198](the "Interim Compensation

Order"), Sills Cummis &Gross P.C.("Sills") hereby files this Seventh ApplicationfoN Allowance

ofCompensationfor Services Rendered andfog Reimbursement ofExpenses as Co-Counsel to

the Official CoJnmittee of Unsecured CreditoNsfor the Period From June 1, 2019 ThNough June

30, 2019(the "Application"). By the Application, Sills seeks allowance, pursuant to the Interim

Compensation Order, of fees and expenses of $86,238.40(80% of $107,798.00) as compensation

and $69.83 for reimbursement of actual and necessary expenses, for a total of $86,308.23 for the

period June 1, 2019 through and including June 30, 2019(the "Compensation Period"). In

support of this Application, Sills respectfully represents as follows:

                                           Background

               1.      On November 5, 2018 (the "Petition Date"), each of the Debtors filed a

voluntary petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy

Code.

               2.      The Debtors continue to operate and manage their assets as a debtors-in-

possession under sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has

been appointed in these cases.

                       On November 14, 2018, the United States Trustee appointed the Official

Committee of Unsecured Creditors (the "Committee")[D.I. 91].

               4.      Sills was retained as co-counsel to the Committee, effective as of

November 14, 2018, pursuant to this Court's Order AuthoNizing Retention and Employment of

Sills Cummis & GNoss P.C. as Co-Counsel to the Comfnittee Nunc Pro Tunc to November 14,

2018, entered on January 8, 2019 [D.I. 423](the "Retention Order")



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                              Compensation Paid and Its Source

               5.     All services for which compensation is requested by Sills were performed

for or on behalf of the Committee.

               6.     During the Compensation Period, Sills has received no payment and no

promises for payment from any source other than the Debtors for services rendered or to be

rendered in any capacity whatsoever in connection with the matters covered by this Application.

There is no agreement or understanding between Sills and any other person, other than with the

members, of counsel and associates of the firm, for the sharing of compensation to be received

for services rendered in these chapter 11 cases.

                                         Fee Statements

               7.      The fee statement for the Compensation Period is attached as Exhibit A.

This statement contains daily time logs describing the time spent by each attorney for the

Compensation Period. To the best of Sibs' knowledge, this Application reasonably complies

with sections 330 and 331 of the Bankruptcy Code,the applicable Bankruptcy Rules, the Region

3 Operating Guidelines and RepoNting RequiNefnentsfor Chapter 11 Debtors and Trustees, the

Guidelinesfor Reviewing Applicationsfor Compensation and Reimbursementfor Expenses Filed

UndeN 11 U.S.C. ~ 330 by AttoNneys in Larger ChapteN 11 Cases Effective NovembeN 1, 2013,

Local Rule 2016-2, applicable Third Circuit law, and the Interim Compensation Order.

                                 Actual and Necessary Expenses

               8.      A summary of actual and necessary expenses and daily logs of expenses

incurred by Sills during the Compensation Period is included in Exhibit A. Sills charged $0.10

per page for photocopying expenses and $0.10 per page for printing during the Compensation

Period. Sills' believes such rates are the market rates that the majority oflaw firms charge

clients for such services.



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                                Summary of Seri~ices Rendered

               9.     The members, of counsel and associates of Sills who have rendered

professional services in these cases during the Compensation Period are as follows: Andrew H.

Sherman, Boris Mankovetskiy, Brian S. Coven, Mark S. Olinsky, Rachel E. Brennan and

Gregory A. Kopacz.

                10.   During the Compensation Period, Sills, by and through the above-named

attorneys, has performed all necessary professional services which are described and narrated in

detail hereinafter.

                                Su~~~mai•y of Sei-~~ices by I'roiect

                11.    The services rendered by Sills during the Compensation Period can be

grouped into the categories set forth below. These categories are generally described below,

with a more detailed identification of the actual services provided set forth on the attached

Exhibit A. The attorneys who rendered services relating to each category are identified, along

with the number of hours for each individual and the total compensation sought for each

category, in Exhibit A.

        A.      Asset Analysis and Recovery

                Fees: $2,755.00;      Total Hours: 3.8

                This category includes time expended by Sills conducting analysis regarding

potential recovery actions.

        B.      Asset Disposition

                Fees: $69,729.50;      Total Hours: 103.5

                This category includes time expended by Sills in connection with multiple

dispositions of the Debtors' assets, including:(i) analyzing and responding to the proposed

amendment of the Lexmark asset purchase agreement, including preparing an objection and

                                                 L~
conducting discovery in connection therewith,(ii) analyzing and responding to the proposed

amendment of the Shreveport/Bossier asset purchase agreement,(iii) addressing sale closing

issues,(iv) analyzing the Debtors' motions to purchase and sell equipment, and (v)

communicating with the Debtors' counsel, the Debtors' financial advisor, the Committee's

financial advisor, and other third parties regarding the foregoing.

          C.     Business Operations

                 Fees: $290.00;        Total Hours: 0.4

          This category includes time expended by Sills analyzing the Debtors' business

projections.

          D.     Case Administration

                 Fees: $4,843.50;      Total Hours: 7.5

                 This category includes time expended by Sills to, among other things: (i) attend

hearings,(ii) provide updates to the Committee members regarding the status of the cases and

pending matters, and (iii) consider matters of general import and scheduling.

          E.     Claims Administration and Objections

                 Fees: $22,390.00;     Total Hours: 33.2

                 This category includes time expended by Sills in connection with claims

administration and settlement matters, including: (i) analyzing claims asserted against the

Debtors' estates,(ii) conducting research in connection with potential claim objections, and (iii)

analyzing a proposed claim settlement agreement and communicating with the Debtors' counsel

in connection therewith.

          F.     Fee/Employment Applications

                 Fees: $4,672.50;       Total Hours: 8.9



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                This category includes time expended by Sills preparing fee applications.

           G.   Financing

                Fees: $2,030.00;      Total Hours: 2.8

                This category includes time expended by Sills analyzing issues relating to an

extension of the Debtors' use of cash collateral.

           H.   Plan and Disclosure Statement

                Fees: $870.00;        Total Hours: 1.2

                This category includes time expended by Sills analyzing plan of liquidation

issues, including plan structure.

           I.   Relieffrom Stay Proceedings

                Fees: $217.50;        Total Hours: 0.3

                This category includes time expended by Sills analyzing the Debtors' objection to

a motion seeking stay relief.

                                      Valuation of Services

                12.    Attorneys of Sills have expended a total of 161.6 hours in connection with

this matter during the Compensation Period, as follows:

                        ATTORNEYS                            HOURS         HOURLY RATE
                        Andrew H. Sherman                     27.4             $775
                        Boris Manlcovetskiy                   48.8             $725
                        Brian S. Coven                        26.5             $725
                        Mark S. Olinsky                        0.9             $725
                        Rachel E. Brennan                     43.4             $545
                        Gregory A. Kopacz                     14.6             $525

The nature of the work performed by these persons is fully set forth in Exhibit A. The

reasonable value of the services rendered by Sills to the Committee during the Compensation

Period is $107,798.00.




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               13.    In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amounts requested by Sills are fair and

reasonable given (a)the complexity ofthese cases,(b)the time expended,(c)the nature and

extent of the services rendered,(d)the value of such services, and (e)the costs of comparable

services other than in a case under this title. Moreover, Sills has reviewed the requirements of

Local Rule 2016-2 and believes that this Application reasonably complies with that Rule.




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          WHEREFORE, Sills respectfully requests that the Court authorize, pursuant to the terms

of the Interim Compensation Order, that an allowance be made to Sills for the Compensation

Period with respect to the sums of$86,238.40(80% of $107,798.00) as compensation and

$69.83 for reimbursement of actual and necessary expenses, for a total of $86,308.23, and that

such sums be authorized for payment and for such other and further relief as this Court may

deem just and proper.


Dated: August 15, 2019
                                              /s/ Colin R. Robinson
                                              Jeffrey N. Pomerantz, Esq.
                                              Bradford J. Sandler, Esq.
                                              Colin R. Robinson, Esq.
                                              Pachulski Stang Ziehl &Jones LLP
                                              919 N. Market Street, 17t"Floor
                                              Wilmington, DE 19801
                                              Telephone: (302)652-4100
                                              Facsimile: (302)652-4400
                                              E-mail: jpomerantz@pszjlaw.com
                                                        bsandler@pszjlaw.com
                                                       crobinson@pszjlaw.com

                                              - and —

                                              Andrew H. Sherman
                                              Boris I. Mankovetskiy
                                              Rachel E. Brennan
                                              SILLS CUMMIS &GROSS P.C.
                                              One Riverfront Plaza
                                              Newark, NJ 07102
                                              Telephone: 973-643-7000
                                              Facsimile: 973-643-6500
                                              Email: asherman@sillscummis.com
                                                      bmankovetskiy@sillscummis.com
                                                      rbrennan@sillscummis.com

                                              Counsel to the Official Committee of Unsecured
                                              CNeditors




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                                        VERIFICATION

STATE OF NEW JERSEY                  )
                                         SS:
COUNTY OF ESSEX                      )

               Andrew H. Sherman, after being duly sworn according to law, deposes and says:

               a)      I am an attorney at law and a Member of the law firm of Sills Cummis &

Gross P.C., located at One Riverfront Plaza, Newark, New Jersey 07102.

               b)      I am familiar with the work performed on behalf of the Committee by the

lawyers in the firm.

               c)      I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016-2, and submit that the Application substantially complies with such

rule.

Dated: August 15, 2019

                                                     /s/Andrew H. Shuman
                                                     Andrew H. Sherman




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